Case 1:12-cv-02483-LTB Document 1 Filed 09/18/12 USDC Co|orado Page 1 of 8

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, Defendant(s).

 

(List each named defendant on a separate line.)

 

COMPLAINT

 

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Fonn USM-285/United States Marshals Service Process Receipt and Return

To obtain these forms, contact the office of the Clerk of the Court:
Alfred A. Arraj United States Courthouse
901 19‘h Street, Room A105
Denver, CO 80294-3589
303/844-3433

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’7 51

PARTIES

l. Plaintiff \LQ OC\W\ pfl \-\€ ["\1‘,(\ is a Citizen Of DL\'\\/'Qf" c@ ' (/ U § .5

who presently resides at the following address:

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/©MM jt hwo live(s) at or is/are located at the following address:

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\2>@5 ?)\ § bOOO\ (Attach a separate page, if necessary, to list additional parties. )
JURISDICTION

4. Jurisdiction is asserted pursuant to following statutory authorities:

 

 

 

5. Briefly state the background of your case:

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Case 1:12-cv-02483-LTB Document 1 Filed 09/18/12 USDC Co|orado Page 5 of 8

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FIRST CLAIM FOR RELIEF
AND SUPPORTING FACTUAL ALLEGATIONS
(Please number your paragraphs and attach any necessary additional pages.)

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SECOND CLAIM FOR RELIEF
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Case 1:12-cv-02483-LTB Document 1 Fi|eo| 09/18/12 USDC Co|orao|o Page 7 of 8

THIRD CLAIM FOR RELIEF
AND SUPPORTING FACTUAL ALLEGATIONS
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Case 1:12-cv-02483-LTB Document 1 Fi|eo| 09/18/12 USDC Co|orao|o Page 8 018

REQUEST FOR RELIEF

Plaintiff requests the following relief:

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